Case 1:04-cr-10033-.]DT Document 31 Filed 07/14/05 Page 1 of 2 Page|D 23

UN|TED STATES D|STR|CT COURT
VVESTERN D|STR|CT TENNESSEE

THOMAS M. GOULD

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CLER_K OF COURT

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luly 14, 2005

RE: l:O4cr10033-01-T
USA vs. KENNETH M. SCRONCE
Dear Sir/Madam:
Please be advised that the RE-SENTENCING HEARING previously SET before Juclge

J ames D. Todd for THURSDAY, AUGUST 25, 2005 at 8:30 A.M. has been removed from the
com calendar.

If you have any questions, please contact the case manager at the number provided below.

Sincerely,
THOMAS M. GOULD, CLERK

Evelyn Cheairs, Case Manager
731-42]-9207

§{

242 FEDERAI_ BU]LDING 262 FEDERAL BUILDING
167 N. MAIN STREET 111 S. HIGHLAND

MEMPHIS, TENNESSEE 38103 JACKSON, TENNESSEE 3830]

 

COURT - WESTERN

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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J ames W. PoWell

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Honorable J ames Todd
US DISTRICT COURT

